          Case 1:05-cr-00047-DHB Document 260 Filed 05/15/07 Page 1 of 2




                              UNITED STATES DISTRICT COUR T

                              SOUTHERN DISTRICT OF GEORGIA                        It, 15 P X3 1


IN RE:                                                                        C
                                                     ORDE R
LEAVE OF ABSENCE REQUEST

W. LAWRENCE FLETCHER                                 CR105-47
June 25 - June 29, 2007                              CR106-1 3
July 11 - July 13, 2007
July 23 - July 27, 2007



         The above named attorney having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83 .9 have been

complied with, and no objections having been received ;

         IT IS HEREBY ORDERED that W . Lawrence Fletcher be granted leave of absence fo r

the period stated in the application .

         This "-day of May, 2007 .




                                                     DUDLEY H. BOWE K/JR.
                                                     UNITED STATES STRICT JUDGE
             Case 1:05-cr-00047-DHB Document 260 Filed 05/15/07 Page 2 of 2
                       United States District Court
                                  Southern District of Georgi a
     UNITED STATES OF AMERIC A

                      vs .                               CASE NO. CR105-47;CR106-1 3




The undersigned, a regularly appointed and qualified deputy in the office of this Clerk of this
District, while conducting the business of the Court for said Division does hereby certify the
following :
         1 Pursuant to instructions from the court, and in the performance of my official
                duties, I personally placed in the U .S . Mail a sealed envelope bearing the lawful
                frank of the Court, and properly addressed to each of the persons, parties or
                attorneys listed below;
                and
         2 . That the aforementioned envelope(s) contain a copy of the documents known as
                  order                                      dated 5/15/07        , which is
                 part of the official records of this case .


Date of Mailing : 5/15/07
Date of Certificate : 5/15/0 7


                                                       SCOTT L . POFF, CLERK

                                                       By

NAME :
1.   W . Lawrence Fletcher
2 . Brenda McCarthy, CRDC
3 . Lisa Widener, CRD C
4.
5.
6.
7.


     Cert/Copy
      ❑ ® District Judg e                                               Dept. of Justic e
      ❑ [] Magistrate Judge                                             Dept. of Public Safety
      ❑ ❑ Minutes                                                       Voter Registrar
      ❑ ® U .S . Probation                                              U .S . Court of Appeals
      ❑ ❑      U .S . Marshal                                           Nicole/Debbie
      ❑        U .S . Attorn ey                                         Ray Stalve y
      ❑ ❑      JAG Office                                               Cindy Reynolds
